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             Case 16-11816-KHK                                    Doc 1              Filed 05/25/16 Entered 05/25/16 09:16:55                                                          Desc Main
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 Fill in this information to identify the case:

 Debtor name            VA Holdings Co. II, LLC

 United States Bankruptcy Court for the:                       EASTERN DISTRICT OF VIRGINIA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $                    0.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $                    0.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $       10,434,781.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $            20,032.38

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$            70,702.59


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         10,525,515.97




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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 Fill in this information to identify the case:

 Debtor name         VA Holdings Co. II, LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF VIRGINIA

 Case number (if known)
                                                                                                                         Check if this is an
                                                                                                                         amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                        12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
    All cash or cash equivalents owned or controlled by the debtor                                                       Current value of
                                                                                                                         debtor's interest

 Part 2:        Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 1
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 Debtor         VA Holdings Co. II, LLC                                                       Case number (If known)
                Name


        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.


 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

            General description                                               Net book value of      Valuation method used   Current value of
            Include year, make, model, and identification numbers             debtor's interest      for current value       debtor's interest
            (i.e., VIN, HIN, or N-number)                                     (Where available)

 47.        Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


 48.        Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
            floating homes, personal watercraft, and fishing vessels

 49.        Aircraft and accessories


 50.        Other machinery, fixtures, and equipment (excluding farm
            machinery and equipment)
            Miscellaneous restaurant furnishings, fixtures
            and equipment.                                                             Unknown                                           Unknown




 51.        Total of Part 8.                                                                                                              $0.00
            Add lines 47 through 50. Copy the total to line 87.

 52.        Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of      Valuation method used   Current value of
                                                                              debtor's interest      for current value       debtor's interest
                                                                              (Where available)
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 2
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 Debtor         VA Holdings Co. II, LLC                                                      Case number (If known)
                Name



 60.        Patents, copyrights, trademarks, and trade secrets

 61.        Internet domain names and websites

 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations
            Customer loyalty program maintained by
            parent company.                                                                 $0.00                                             $0.00



 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.                                                                                                              $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 3
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 Debtor          VA Holdings Co. II, LLC                                                                             Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                     $0.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                                      $0.00       + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                          $0.00




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 4
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 Fill in this information to identify the case:

 Debtor name          VA Holdings Co. II, LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF VIRGINIA

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
          No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
          Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1    HCAP Partners III, LP                         Describe debtor's property that is subject to a lien             $10,434,781.00                   Unknown
        Creditor's Name                               Miscellaneous restaurant furnishings,
                                                      fixtures and equipment.
        3636 Nobel Drive, Suite 401
        San Diego, CA 92122
        Creditor's mailing address                    Describe the lien
                                                      Loan $10.2M Principal. Interest as of 5/5/16:
                                                      $234,781
                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



                                                                                                                          $10,434,781.
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                   00

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                 page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         VA Holdings Co. II, LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF VIRGINIA

 Case number (if known)
                                                                                                                                                            Check if this is an
                                                                                                                                                            amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                           12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                              Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                  $20,032.38         $20,032.38
           Commonwealth of Virginia                                  Check all that apply.
           Department of Taxation                                       Contingent
           PO Box 1777                                                  Unliquidated
           Richmond, VA 23218-1777                                      Disputed

           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                    $5,125.00
           Bullseye Telecom                                                            Contingent
           25925 Telegraph Road, Suite 21                                              Unliquidated
           Southfield, MI 48033-2527                                                   Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?           No   Yes

 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                   $65,577.59
           KAT Construction LLC                                                        Contingent
           PO Box 7732                                                                 Unliquidated
           Fort Myers, FL 33911                                                        Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?           No   Yes



 Part 3:      List Others to Be Notified About Unsecured Claims



Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                              page 1 of 2
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 Debtor       VA Holdings Co. II, LLC                                                              Case number (if known)
              Name

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                               On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                  related creditor (if any) listed?                account number, if
                                                                                                                                                   any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                   Total of claim amounts
 5a. Total claims from Part 1                                                                        5a.       $                       20,032.38
 5b. Total claims from Part 2                                                                        5b.   +   $                       70,702.59

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                             5c.       $                            90,734.97




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         VA Holdings Co. II, LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF VIRGINIA

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         VA Holdings Co. II, LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF VIRGINIA

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                    Name                           Check all schedules
                                                                                                                                 that apply:

    2.1      NATIVE FOODS                      an IL limited liability co.                        HCAP Partners III, LP             D   2.1
             BELMONT, LLC                      500 North Dearborn, Suite 1000                                                       E/F
                                               Chicago, IL 60654
                                                                                                                                    G




    2.2      NATIVE FOODS                      a CO limited liability co.                         HCAP Partners III, LP             D   2.1
             BOULDER LLC,                      500 North Dearborn, Suite 1000                                                       E/F
                                               Chicago, IL 60654
                                                                                                                                    G




    2.3      NATIVE FOODS                      an IL limited liability co.                        HCAP Partners III, LP             D   2.1
             BUCKTOWN LLC                      500 North Dearborn, Suite 1000                                                       E/F
                                               Chicago, IL 60654
                                                                                                                                    G




    2.4      NATIVE FOODS                      a Nevada limited liability co.                     HCAP Partners III, LP             D   2.1
             CALIFORNIA                        500 North Dearborn, Suite 1000                                                       E/F
             LLC                               Chicago, IL 60654
                                                                                                                                    G




Official Form 206H                                                            Schedule H: Your Codebtors                                      Page 1 of 4
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 Debtor       VA Holdings Co. II, LLC                                                        Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.5      NATIVE FOODS                      a CA limited liability co.                         HCAP Partners III, LP     D   2.1
             CALIFORNIA                        500 North Dearborn, Suite 1000                                               E/F
             LLC                               Chicago, IL 60654
                                                                                                                            G




    2.6      NATIVE FOODS                      a Wash., DC ltd liability co.                      HCAP Partners III, LP     D   2.1
             CALIFORNIA                        500 North Dearborn, Suite 1000                                               E/F
             LLC                               Chicago, IL 60654
                                                                                                                            G




    2.7      NATIVE FOODS                      a VA limited liability co.                         HCAP Partners III, LP     D   2.1
             CALIFORNIA                        500 North Dearborn, Suite 1000                                               E/F
             LLC                               Chicago, IL 60654
                                                                                                                            G




    2.8      NATIVE FOODS                      an IL limited liability co.                        HCAP Partners III, LP     D   2.1
             CLARK STREET                      500 North Dearborn, Suite 1000                                               E/F
             LLC                               Chicago, IL 60654
                                                                                                                            G




    2.9      NATIVE FOODS                      a Nevada limited liability co.                     HCAP Partners III, LP     D   2.1
             FRANCHISING                       500 North Dearborn, Suite 1000                                               E/F
             LLC                               Chicago, IL 60654
                                                                                                                            G




    2.10     NATIVE FOODS                      an IL limited liability co.                        HCAP Partners III, LP     D   2.1
             ILLINOIS                          500 North Dearborn, Suite 1000                                               E/F
             WHOLESAL                          Chicago, IL 60654
                                                                                                                            G




    2.11     NATIVE FOODS                      an IL limited liability co.                        HCAP Partners III, LP     D   2.1
             ILLINOIS, LLC                     500 North Dearborn, Suite 1000                                               E/F
                                               Chicago, IL 60654
                                                                                                                            G




Official Form 206H                                                            Schedule H: Your Codebtors                           Page 2 of 4
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 Debtor       VA Holdings Co. II, LLC                                                        Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.12     NATIVE FOODS                      a Nevada limited liability co.                     HCAP Partners III, LP     D   2.1
             MANAGEMENT                        500 North Dearborn, Suite 1000                                               E/F
             LLC                               Chicago, IL 60654
                                                                                                                            G




    2.13     NATIVE FOODS                      an Oregon limited liability co                     HCAP Partners III, LP     D   2.1
             PORTLAND LLC                      500 North Dearborn, Suite 1000                                               E/F
                                               Chicago, IL 60654
                                                                                                                            G




    2.14     NATIVE FOODS                      a Nevada limited liability co.                     HCAP Partners III, LP     D   2.1
             WHOLESALE                         500 North Dearborn, Suite 1000                                               E/F
             LLC                               Chicago, IL 60654
                                                                                                                            G




    2.15     NF CALIFORNIA                     a CA limited liability co.                         HCAP Partners III, LP     D   2.1
             LLC                               500 North Dearborn, Suite 1000                                               E/F
                                               Chicago, IL 60654
                                                                                                                            G




    2.16     NF CALIFORNIA                     a CA limited liability co.                         HCAP Partners III, LP     D   2.1
             WHOLESALE                         500 North Dearborn, Suite 1000                                               E/F
             LLC                               Chicago, IL 60654
                                                                                                                            G




    2.17     NF COLORADO                       a CO limited liability co.                         HCAP Partners III, LP     D   2.1
             LLC                               500 North Dearborn, Suite 1000                                               E/F
                                               Chicago, IL 60654
                                                                                                                            G




    2.18     NF ILLINOIS LLC                   an IL limited liability co.                        HCAP Partners III, LP     D   2.1
                                               500 North Dearborn, Suite 1000                                               E/F
                                               Chicago, IL 60654
                                                                                                                            G




Official Form 206H                                                            Schedule H: Your Codebtors                           Page 3 of 4
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 Debtor       VA Holdings Co. II, LLC                                                        Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.19     NF OREGON LLC                     an Oregon limited liability co                     HCAP Partners III, LP     D   2.1
                                               500 North Dearborn, Suite 1000                                               E/F
                                               Chicago, IL 60654
                                                                                                                            G




    2.20     NF                                a Wash., DC ltd liability co.                      HCAP Partners III, LP     D   2.1
             WASHINGTON                        500 North Dearborn, Suite 1000                                               E/F
             LLC                               Chicago, IL 60654
                                                                                                                            G




    2.21     NFM HOLDINGS                      a Nevada limited liability co.                     HCAP Partners III, LP     D   2.1
             LLC                               500 North Dearborn, Suite 1000                                               E/F
                                               Chicago, IL 60654
                                                                                                                            G




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                        Bullseye Telecom
                        25925 Telegraph Road, Suite 21
                        Southfield, MI 48033-2527


                        Commonwealth of Virginia
                        Department of Taxation
                        PO Box 1777
                        Richmond, VA 23218-1777


                        HCAP Partners III, LP
                        3636 Nobel Drive, Suite 401
                        San Diego, CA 92122


                        KAT Construction LLC
                        PO Box 7732
                        Fort Myers, FL 33911


                        NATIVE FOODS BELMONT, LLC
                        an IL limited liability co.
                        500 North Dearborn, Suite 1000
                        Chicago, IL 60654


                        NATIVE FOODS BOULDER LLC,
                        a CO limited liability co.
                        500 North Dearborn, Suite 1000
                        Chicago, IL 60654


                        NATIVE FOODS BUCKTOWN LLC
                        an IL limited liability co.
                        500 North Dearborn, Suite 1000
                        Chicago, IL 60654


                        NATIVE FOODS CALIFORNIA LLC
                        a Nevada limited liability co.
                        500 North Dearborn, Suite 1000
                        Chicago, IL 60654


                        NATIVE FOODS CALIFORNIA LLC
                        a CA limited liability co.
                        500 North Dearborn, Suite 1000
                        Chicago, IL 60654


                        NATIVE FOODS CALIFORNIA LLC
                        a Wash., DC ltd liability co.
                        500 North Dearborn, Suite 1000
                        Chicago, IL 60654
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                    NATIVE FOODS CALIFORNIA LLC
                    a VA limited liability co.
                    500 North Dearborn, Suite 1000
                    Chicago, IL 60654


                    NATIVE FOODS CLARK STREET LLC
                    an IL limited liability co.
                    500 North Dearborn, Suite 1000
                    Chicago, IL 60654


                    NATIVE FOODS FRANCHISING LLC
                    a Nevada limited liability co.
                    500 North Dearborn, Suite 1000
                    Chicago, IL 60654


                    NATIVE FOODS ILLINOIS WHOLESAL
                    an IL limited liability co.
                    500 North Dearborn, Suite 1000
                    Chicago, IL 60654


                    NATIVE FOODS ILLINOIS, LLC
                    an IL limited liability co.
                    500 North Dearborn, Suite 1000
                    Chicago, IL 60654


                    NATIVE FOODS MANAGEMENT LLC
                    a Nevada limited liability co.
                    500 North Dearborn, Suite 1000
                    Chicago, IL 60654


                    NATIVE FOODS PORTLAND LLC
                    an Oregon limited liability co
                    500 North Dearborn, Suite 1000
                    Chicago, IL 60654


                    NATIVE FOODS WHOLESALE LLC
                    a Nevada limited liability co.
                    500 North Dearborn, Suite 1000
                    Chicago, IL 60654


                    NF CALIFORNIA LLC
                    a CA limited liability co.
                    500 North Dearborn, Suite 1000
                    Chicago, IL 60654
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                    NF CALIFORNIA WHOLESALE LLC
                    a CA limited liability co.
                    500 North Dearborn, Suite 1000
                    Chicago, IL 60654


                    NF COLORADO LLC
                    a CO limited liability co.
                    500 North Dearborn, Suite 1000
                    Chicago, IL 60654


                    NF ILLINOIS LLC
                    an IL limited liability co.
                    500 North Dearborn, Suite 1000
                    Chicago, IL 60654


                    NF OREGON LLC
                    an Oregon limited liability co
                    500 North Dearborn, Suite 1000
                    Chicago, IL 60654


                    NF WASHINGTON LLC
                    a Wash., DC ltd liability co.
                    500 North Dearborn, Suite 1000
                    Chicago, IL 60654


                    NFM HOLDINGS LLC
                    a Nevada limited liability co.
                    500 North Dearborn, Suite 1000
                    Chicago, IL 60654
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